     Case 3:19-cv-03016-X Document 12 Filed 06/26/20         Page 1 of 10 PageID 74



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                        §
                                              §
v.                                            §         Case No. 3:19‐cv‐03016‐X
                                              §
GRANT STINCHFIELD                             §

                        BRIEF IN SUPPORT OF PLAINTIFF’S
                    MOTION FOR ENTRY OF PROTECTIVE ORDER

        Plaintiff, Ackerman McQueen, Inc. (“AMc”), files its Brief in Support of its Motion

for Protective Order (“Motion”) (doc. 11), and respectfully asks the Court to enter the

proposed Protective Order (“Protective Order”) submitted concurrently herewith

pursuant to Federal Rule of Civil Procedure 26(c).

                          INTRODUCTION AND SUMMARY

        1.    The Defendant in this case, Grant Stinchfield (“Defendant”), is represented

by Brewer Attorneys and Counselors. The central issue before this Court is whether

William A. Brewer III (“Brewer”) and the public relations unit at Brewer Attorneys and

Counselors (“Brewer PR”) should be prohibited from accessing, reviewing, and

otherwise using information designated as Highly Confidential by AMc under a two‐tier

protective order.

        2.    AMc is a public relations and marketing company that formerly provided

public‐relations, crisis‐management, marketing, event, and media services for the



BRIEF IN SUPPORT OF PLAINTIFF’S
MOTION FOR ENTRY OF PROTECTIVE ORDER – PAGE 1
   Case 3:19-cv-03016-X Document 12 Filed 06/26/20          Page 2 of 10 PageID 75



National Rifle Association of America, Inc. (“NRA”) for nearly 40 years. Brewer and

Brewer PR have now supplanted AMc in that role.

      3.     In October 2019, after two separate hearings, the Circuit Court of the City

of Alexandria, Virginia (the “Virginia Court”) determined in a somewhat related case

that Brewer and Brewer PR were direct competitors of AMc. Thus, the Virginia Court

prohibited Brewer and Brewer PR from accessing, reviewing, and otherwise using

information designated as Highly Confidential in that case. See Ex. A‐1. Magistrate Judge

Tolliver recently reached the same conclusion in a related case, Case No. 3:19‐cv‐02074‐

G, National Rifle Association of America, Inc. v. Ackerman McQueen, Inc. (N.D. Tex.) (the

“NRA Texas Action”). See Ex. A‐2. Magistrate Judge Tolliver held that “[i]f Brewer had

access to AMc’s Highly Confidential Information—which includes non‐public financial

statements, profit and loss data, and sales information relating to specific customers—

then Brewer could use that competitive information to severely prejudice AMc.” Id.

Thus, she agreed with the Virginia Court “that Brewer and its PR unit should be walled

off from information designated as Highly Confidential Information.” Id.

      4.     Through their representation of Defendant in this case, the Brewer firm is

attempting to make an end‐run around the protective orders entered by the Virginia

Court and Magistrate Judge Tolliver by requesting that AMc produce sensitive,

confidential information regarding AMc’s business and business relationship with the

NRA, without the benefit of a protective order. In order to prevent Brewer and Brewer


BRIEF IN SUPPORT OF PLAINTIFF’S
MOTION FOR ENTRY OF PROTECTIVE ORDER – PAGE 2
   Case 3:19-cv-03016-X Document 12 Filed 06/26/20           Page 3 of 10 PageID 76



PR from using discovery to obtain a competitive advantage over AMc, AMc requests

entry of a two‐tier protective order in substantially the same form as the ones entered by

the Virginia Court and by Magistrate Judge Tolliver that prohibits Brewer and Brewer

PR from accessing, reviewing, and otherwise using information designated as Highly

Confidential.

                               FACTUAL BACKGROUND

       5.       AMc is a public relations and marketing company that formerly provided

public‐relations, crisis‐management, marketing, event, and media services for the

National Rifle Association of America, Inc. (“NRA”) for nearly 40 years. The NRA has

initiated three lawsuits against AMc, which have been consolidated and are pending in

Virginia. The Brewer firm represents the NRA in the Virginia Action, and the parties

agreed to a protective order with two tiers of confidentiality in that action. See Ex. A‐1.

The NRA also initiated litigation against AMc in the Northern District of Texas, and the

Brewer firm represents the NRA in that action, too. Over the NRA’s objection, Magistrate

Judge Tolliver recently decided to enter a protective order with two tiers of

confidentiality. See Exs. A‐2, A‐3.

       6.       The Defendant, Grant Stinchfield, is a former employee of AMc who hosted

an online program on the NRA’s digital media platform, NRATV. This lawsuit arises out

of an “affidavit” signed by Defendant on December 10, 2019, in which he makes

numerous false statements about AMc. The affidavit was not filed with a court of law or


BRIEF IN SUPPORT OF PLAINTIFF’S
MOTION FOR ENTRY OF PROTECTIVE ORDER – PAGE 3
   Case 3:19-cv-03016-X Document 12 Filed 06/26/20             Page 4 of 10 PageID 77



other tribunal. Instead, it was sent directly to the media, and appears to have been created

for the sole purpose of disseminating it to the media in order to defame AMc. AMc thus

sued Defendant for defamation and business disparagement in relation to the affidavit.

Defendant answered, asserting numerous affirmative defenses.

       7.     Both parties have been conducting discovery in support of their claims and

defenses in this matter. Defendant’s counsel, the Brewer firm, which also represents the

NRA in the NRA Texas Action and the Virginia lawsuit, has requested that AMc produce

sensitive, confidential information regarding AMc’s business, including its business

relationship with the NRA, much of which Defendant’s counsel also sought in the

Virginia lawsuit and the NRA Texas Action.           For example, Defendant is seeking

production of documents relating to NRATV, the streaming media platform that AMc

developed for the NRA, including its lauch, its valuation, related viewership analytics,

and related billing entries, financials, projections, forecasts, and the like. See Ex. A‐4 at

RFPs Nos. 7‐9, 16‐21, 24‐30, 37‐49, 70, 72‐73. Defendant is also seeking production of

AMc’s contracts with its on‐air talent. See id. at 65. Defendant is also requesting

documents relating to AMc’s relationship with employees, vendors, clients, potential

clients, and former clients. See id. at Nos. 1‐6, 10‐14, 36, 71. And, Defendant is seeking

production of AMc’s financial statements. See id. at No. 23.

       8.     Although the parties generally agree that trade secrets should be protected

from public disclosure, AMc specifically objects to the disclosure of this type of highly


BRIEF IN SUPPORT OF PLAINTIFF’S
MOTION FOR ENTRY OF PROTECTIVE ORDER – PAGE 4
   Case 3:19-cv-03016-X Document 12 Filed 06/26/20            Page 5 of 10 PageID 78



confidential business information to its competitor, Brewer and Brewer PR. Thus, AMc

proposed a two‐tier protective order, which would have allowed AMc to designate

certain relevant, responsive information as Highly Confidential Information to which

Brewer and Brewer PR would not have access. See Ex. A‐5. Defendant’s counsel has

indicated that they oppose AMc’s proposed two‐tier protective order, but will agree to

“provide protection to information regarding trade secrets.” See Ex. A‐6.

                          ARGUMENT AND AUTHORITIES

       9.     A court may issue a protective order, upon a showing of good cause, “to

protect a party or person from annoyance, embarrassment, oppression, or undue burden

or expense” or to protect a party’s “confidential, research, development, or commercial

information.” Fed. R. Civ. P. 26(c)(1), (c)(1)(G). When parties to an action agree on the

entry of a protective order, but differ on the order’s terms, the party seeking to limit

discovery bears the burden of demonstrating that “good cause” exists for the level of

protection sought. Document Gen. Corp. v. Allscripts, LLC, Case No. 6:08‐CV‐479, 2009 WL

1766096, *2 (E.D. Tex. June 23, 2009). “The party attempting to establish good cause must

demonstrate ‘a clearly defined and serious injury to the party seeking closure.’” Id.

(quoting Pansy v. Borough of Stroudsburg, 23 F.3d 772, 786 (3d Cir. 1994)).

       10.    The purpose of this Motion is to address these concerns, which are unique

to the business and personal relationship between AMc, on the one hand, and the Brewer

firm and its namesake, on the other hand. In an unusual twist on traditional litigation,


BRIEF IN SUPPORT OF PLAINTIFF’S
MOTION FOR ENTRY OF PROTECTIVE ORDER – PAGE 5
      Case 3:19-cv-03016-X Document 12 Filed 06/26/20                    Page 6 of 10 PageID 79



Brewer is the brother‐in‐law of AMc’s CEO, Revan McQueen, has positioned his law firm

as a direct competitor of AMc, and has supplanted AMc’s role providing public relations

and strategic marketing services to the NRA.1

          11.       Although the NRA maintains that the Brewer firm is not a competitor with

AMc, two courts have held otherwise. As has been extensively briefed and argued in

both the NRA Texas Action and the Virginia lawsuit, Brewer and Brewer PR perform

many of the same services for the NRA that AMc used to perform.2 For instance:

                   The Brewer Firm is now drafting and approving the NRA’s press
                    releases and statements to the media;

                   When media outlets, including the New York Times, approach the
                    NRA for comments on the NRA’s litigation with AMc, NRA officials
                    are conferring with Brewer PR, which is helping the NRA draft
                    responses;

                   The NRA’s PR director has been communicating with the Brewer
                    PR’s director, Travis Carter, several times per week since April 2019;
                    and

                   Brewer himself regularly interacts with the NRA’s PR director and
                    assists him with his job.3




1   See NRA Texas Action, Doc. 111 ¶¶ 2‐3 (and accompanying exhibits).
2See NRA Texas Action, Doc. 51 at ¶¶ 5‐6 (and accompanying exhibits); pp. 79‐110 (Tr. of Hearing on
protective order in Virginia action).
3   See NRA Texas Action, Doc. 51 at ¶¶ 5‐6 (and accompanying exhibits).

BRIEF IN SUPPORT OF PLAINTIFF’S
MOTION FOR ENTRY OF PROTECTIVE ORDER – PAGE 6
      Case 3:19-cv-03016-X Document 12 Filed 06/26/20            Page 7 of 10 PageID 80



In both the NRA Texas Action and the Virginia lawsuit, the courts held that Brewer and

Brewer PR compete with AMc and, thus, two‐tier protective orders were appropriate. See

Exs. A‐1, A‐2.

          12.     Plaintiff seeks to ensure that its proprietary information does not fall into

the hands of another public‐relations firm, especially one that has already proven its

willingness to actively compete with AMc. While an ordinary protective order might

otherwise ensure that propriety information will not be disclosed to a competing

business, Defendant is represented by a competing business—one which has already taken

the NRA’s PR work from AMc. Accordingly, a customized protective order is required

in order to deal with the unique facts of this case.

          13.     The Virginia court acknowledged this professional conflict and, after a

hearing including oral argument by both parties,4 entered a two‐tiered protective order

providing for both a “Confidential” and “Highly Confidential” document designation.

This two‐tiered structure granted Brewer and Brewer PR access to “Confidential”

information, but excluded them from all proprietary information designated as “Highly

Confidential.” See Ex. A‐1. Magistrate Judge Tolliver did the same in the NRA Texas

Action. See Exs. A‐2, A‐3. She was particularly concerned that a less restrictive protective

order could allow Brewer and Brewer PR to circumvent the protective order in the




4   See NRA Texas Action, Doc. 51 at 109‐110.

BRIEF IN SUPPORT OF PLAINTIFF’S
MOTION FOR ENTRY OF PROTECTIVE ORDER – PAGE 7
   Case 3:19-cv-03016-X Document 12 Filed 06/26/20           Page 8 of 10 PageID 81



Virginia lawsuit and gain access to AMc’s sensitive, nonpublic business information. See

Ex. A‐2 at p. 4.

       14.    Although the named parties are different in the present case, the same

confidentiality issues still exist due to the Brewer firm’s involvement in this case. Entry

of a one‐tier protective order that does not prohibit Brewer and Brewer PR from accessing

Highly Confidential Information would permit Brewer and Brewer to circumvent the

Virginia protective order and the protective order in the NRA Texas Action. Documents

designated “Highly Confidential” for purposes of the Virginia Action and the NRA Texas

Action would only be treated as “Confidential” for purposes of this Action, meaning

Brewer and Brewer PR would have access to information that two courts have already

decided they should not be permitted to receive. AMc’s business competitor would have

access to AMc’s business plans, financial information, and customer information, thereby

severely prejudicing AMc.

       15.    The undersigned has provided Defendant’s counsel with a copy of the

proposed Protective Order, which is substantially identical to the protective order

entered in the NRA Virginia Action and the NRA Texas Action and is intended to govern

the entirety of the discovery efforts between the parties, including written, oral, and

third‐party discovery, and provide a mechanism for both parties to designate and

challenge confidentiality. See Ex. A‐5. Defendant’s counsel has indicated that they object




BRIEF IN SUPPORT OF PLAINTIFF’S
MOTION FOR ENTRY OF PROTECTIVE ORDER – PAGE 8
   Case 3:19-cv-03016-X Document 12 Filed 06/26/20           Page 9 of 10 PageID 82



to entry of the protective order, but said they would somehow “provide protection to

information regarding trade secrets.” See Ex. A‐6.

       16.    Two courts have held that AMc, on the one hand, and Brewer and Brewer

PR, on the other hand, are competitors. See Exs. A‐1, A‐2. Two courts have therefore

entered orders holding that Brewer and Brewer PR should be walled off from AMc’s

Highly Confidential Information. See Exs. A‐1, A‐3. Entry of a different type of protective

order in this case could allow Brewer and Brewer PR to make an end‐run around those

orders and use AMc’s Highly Confidential Information to prejudice AMc. Thus, AMc

has established good cause and demonstrated a clearly defined and serious injury to

warrant entry of a more restrictive protective order.

                                        PRAYER

       WHEREFORE, PREMISES CONSIDERED, AMc respectfully asks the Court to

grant this Motion, enter a protective order in the form submitted concurrently herewith,

and grant AMc such other and further relief to which it may be justly entitled.




BRIEF IN SUPPORT OF PLAINTIFF’S
MOTION FOR ENTRY OF PROTECTIVE ORDER – PAGE 9
  Case 3:19-cv-03016-X Document 12 Filed 06/26/20             Page 10 of 10 PageID 83



       Dated: June 26, 2020.

                                           Respectfully submitted,

                                           /s/ Brian Vanderwoude
                                           Jay J. Madrid, Esq.
                                           Texas Bar No. 12802000
                                           madrid.jay@dorsey.com
                                           G. Michael Gruber, Esq.
                                           Texas Bar No. 08555400
                                           gruber.mike@dorsey.com
                                           J. Brian Vanderwoude, Esq.
                                           Texas Bar No. 24047558
                                           vanderwoude.brian@dorsey.com
                                           Brian E. Mason, Esq.
                                           Texas Bar No. 24079906
                                           mason.brian@dorsey.com
                                           DORSEY & WHITNEY LLP
                                           300 Crescent Court, Suite 400
                                           Dallas, Texas 75201
                                           (214) 981‐9900 Phone
                                           (214) 981‐9901 Facsimile

                                           ATTORNEYS FOR PLAINTIFF
                                           ACKERMAN MCQUEEN, INC.



                               CERTIFICATE OF SERVICE

       I hereby certify that on June 26, 2020, I filed the foregoing document with the clerk
of court for the U.S. District Court, Northern District of Texas. I hereby certify that I have
served the document on all counsel and/or pro se parties of record by a manner
authorized by Federal Rules of Civil Procedure 5(b)(2).

                                           /s/ Brian Vanderwoude
                                           J. Brian Vanderwoude




BRIEF IN SUPPORT OF PLAINTIFF’S
MOTION FOR ENTRY OF PROTECTIVE ORDER – PAGE 10
